Case 9:15-cv-81522-KAM Document 16 Entered on FLSD Docket 08/29/2016 Page 1 of 1



                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                       CASE NO. 15-81522-CIV-MARRA/MATTHEWMAN

  KAREN C. YEH HO,

        Plaintiff,
  vs.

  WELLS FARGO BANK, N.A.,

        Defendant.
  ________________________/

                                     FINAL JUDGMENT

        THIS CAUSE is before the Court upon the separately entered Order Granting

  Motion to Dismiss. Accordingly, it is hereby

        ORDERED AND ADJUDGED that Judgment is hereby entered on behalf of

  Defendant Wells Fargo Bank, N.A. and against Plaintiff, Karen Yeh Ho. Plaintiff shall

  take nothing from Defendant in this action.

        DONE AND ORDERED in Chambers at West Palm Beach, Palm Beach County,

  Florida, this 26th day of August, 2016.

                                            _________________________
                                            KENNETH A. MARRA
                                            United States District Judge
